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  Subject: Brief Summary Attached              8487
  From: Cara Barber - To: kyle@lynchhoppersmith.com - Date: May 10, 2016 at 12:41 PM, Attachments: BRIEF SUMMARY FOR
  CURRENT AND FORMER.docx


Hi Kyle,

I’ve attached a brief summary of points for current and former MCBH and Pearl Harbor residents for your
review. I liked the letter and notice sent out today, but I’m concerned current residents may feel left out.
Considering the demolition and construction in their neighborhoods that has begun or is about to begin,
many current residents also have legitimate concerns and potential legal claims. I believe their concerns are
legitimate considering neither Forest City nor Hunt have done post-construction or confirmation
sampling/testing in their contaminated neighborhoods, not to mention the +/-40 toxic landfills Forest City
created in these neighborhoods. It is on top of at least one or more of these toxic landfills in the Mololani
neighborhood that Hunt has recently begun new housing development.

Further supporting their concerns is the fact that the same incompetent subcontractor simultaneously
managed and supposedly remediated contaminated soils in MCBH, Pearl Harbor and Hickam
neighborhoods. Confirmation sampling/testing in those Hickam neighborhoods confirmed contamination
levels were higher than before! We suspect this is why Forest City, the Navy, Marine Corps and now Hunt
refuse to do post-construction or confirmation sampling/testing in these neighborhoods.

In addition, Forest City and Hunt’s failures to remove, remediate and/or disclose hazardous contamination
applies to military families who live in MCBH and Pearl Harbor neighborhoods, so I think we need to speak
to Pearl Harbor families too.

Look forward to talking soon!

Cara




                                                               EXHIBIT 28
                                                               EXHIBIT 3
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                       BRIEF	SUMMARY	FOR	CURRENT	AND	FORMER	
                            MCBH	AND	PEARL	HARBOR	RESIDENTS	


     •   Hazardous	contamination	is	confirmed	throughout	MCBH	and	Pearl	Harbor	neighborhoods.
     •   Although	Hawaii	law	requires	that	all	known	health	and	safety	hazards	in	and	around	a	home
         must	be	disclosed	to	tenants	before	a	home	is	leased	or	sold,	neither	Forest	City	nor	Hunt
         Companies	has	disclosed	the	hazardous	contamination	or	the	serious	health	risks	it	poses.
     •   Their	failure	to	inform	you	about	the	hazardous	contamination	and	serious	health	risks	means
         you	have	strong	legal	claims	you	can	pursue	against	them	including	but	not	limited	to	the
         following:
              o Negligent	failure	to	warn,
              o Violation	of	Hawaii	Landlord	Tenant	Code,
              o Deceptive	Trade	Practices,
              o Fraud,	etc.
     •   A	current	or	former	MCBH	or	Pearl	Harbor	resident	who	pursues	these	legal	claims	can	seek	the
         following:
              o 100%	Reimbursement	of	BAH/Rents	Paid
              o Potential	Punitive	Damages,	etc.
     •   A	2-year	statute	of	limitation	applies	to	these	claims,	meaning	you	have	2	years	from	the	date
         you	found	out	about	the	hazardous	contamination	to	pursue	these	claims	and	monetary
         damages.		If	you	wait	more	than	2	years,	the	Court	may	not	allow	you	to	pursue	these	claims
     •   Statute	of	limitations	for	MCBH	residents	who	leased	a	home	from	Forest	City	before	2014	were
         “frozen”	during	litigation	of	the	class	action	lawsuit	(2014	–	2016).		As	a	result,	the	approximate
         2	years	of	litigation	do	not	count	against	the	2-year	statute	of	limitations	for	those	current	or
         former	residents.		For	example,	if	a	former	resident	found	out	about	the	contamination	in	Jan
         2013,	they	would	still	have	a	year	or	more	to	pursue	these	claims.
     •   Other	current	and	former	MCBH	residents	have	pursued	these	strong	legal	claims	against	Forest
         City.		Their	lawsuit	settled	for	an	undisclosed	amount.
     •   Attorneys	may	be	willing	to	represent	your	claims	on	a	“contingency	basis,”	meaning	you	would
         not	have	to	pay	any	money	out	of	pocket	for	legal	representation.		A	contingent	fee	agreement
         between	you	and	your	attorney	means	that	you	agree	to	give	your	attorney	a	certain
         percentage	of	the	funds	awarded	or	settled	upon	at	the	conclusion	of	your	case.		That
         percentage	is	always	agreed	upon	upfront.
